97 F.3d 1463
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Simon C. SOTELO, Defendant-Appellant.UNITED STATES of America, Plaintiff-Appellee,v.Simon C. SOTELO, Defendant-Appellant.
    Nos. 96-15309, 96-15310.
    United States Court of Appeals, Ninth Circuit.
    Submitted Sept. 10, 1996.*Decided Sept. 13, 1996.
    
      Before:  FLETCHER, BRUNETTI, and NOONAN, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Simon C. Sotelo, a federal prisoner, appeals pro se the denial of his 28 U.S.C. § 2255 motion challenging his convictions for distribution and possession with intent to distribute cocaine in violation of 21 U.S.C. § 841(a)(1) (CR 87-597-CAL) and conspiracy to import cocaine and structuring transactions to evade reporting requirements in violation of 21 U.S.C. § 963 and 31 U.S.C. § 5324 (CR 87-598-CAL).  Sotelo contends that the Double Jeopardy Clause barred his convictions due to multiple prior seizures and administrative forfeitures of his property pursuant to 21 U.S.C. § 881(a).  This contention is precluded by the Supreme Court's decision in  United States v. Ursery, 116 S.Ct. 2135 (1996).  See United States v. Sardone, No. 95-50303, slip op. 10917, 10925 (9th Cir.  Aug. 30, 1996).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    